        Case 20-50777-btb       Doc 4     Entered 08/10/20 16:26:03        Page 1 of 1




                                               Certificate Number: 17572-NV-CC-034759694


                                                             17572-NV-CC-034759694




                    CERTIFICATE OF COUNSELING

I CERTIFY that on August 10, 2020, at 3:39 o'clock PM PDT, Harry J
Grundmann received from Dollar Learning Foundation, Inc., an agency approved
pursuant to 11 U.S.C. 111 to provide credit counseling in the District of Nevada,
an individual [or group] briefing that complied with the provisions of 11 U.S.C.
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   August 10, 2020                        By:      /s/Hector Colon


                                               Name: Hector Colon


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
